FELICELLO                                                    Michael James Maloney
                                                                            Partner
                                                                                                        Felicello Law P.C.
                                                                                                      366 Madison Avenue
                                                                                                                  3rd Floor
                                                                                                      New York, NY 10017

                                                                                                    Tel. +1 (212) 584-7806
                                                                                                mmaloney@felicellolaw.com




 VIA ECF                                                                 August 18, 2023

 Hon. Valerie Figueredo
 Daniel Patrick Moynihan
 United States Courthouse
 500 Pearl St.
 New York, NY 10007-1312

 Re: Baliga, et al. v. Link Motion Inc., et al., Case No. 1:18-cv-11642-VM-VF (S.D.N.Y.)
     Briefing schedule re: Mr. Guo's Expenses

 Dear Judge Figueredo:

         We represent Dr. Vincent Wenyong Shi (“Dr. Shi”). We write jointly with counsel for
 Robert W. Seiden, the court-appointed receiver (the “Receiver”), and plaintiff Wayne Baliga
 (“Plaintiff”) to request a scheduling order for briefing regarding the issue of Mr. Guo’s expenses,
 as requested in the Report & Recommendation (the “R&R”) issued on August 11, 2023 (Dkt. 466).

       •   Shi shall submit his briefing and objections to Guo’s expense claims on or before Monday,
           September 18, 2023;
       •   Any response to Shi’s briefing shall be filed on or before Tuesday, October 10, 2023; and
       •   Any reply in further support of Shi’s objections shall be filed on or before Friday, October
           24, 2023.

          After a Report & Recommendation is issued concerning Guo’s expenses, the parties will
 meet and confer regarding a schedule concerning supplemental briefing concerning the Receiver’s
 fee-shifting application. I have met and conferred with counsel for the Receiver and Plaintiff who
 join in this request.

                                                         Respectfully submitted,
                                                         /s/ Michael James Maloney
                                                         Michael James Maloney


 cc:       All counsel of record (via ECF)




                                                                             *Admitted to practice law in New York
